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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11
)
W. R. GRACE & CO., et al., ) Case No. 01-01139 (JKF)
) (Jointly Administered)
Debtors. )

NOTICE OF DEPOSITION AND SUBPOENA

To All Parties on the Attached Service List:

PLEASE TAKE NOTICE that, pursuant to Rules 30 and 45 of the Federal Rules of
Civil Procedure, made applicable by Rules 7030 and 9016 of the Federal Rules of Bankruptcy
Procedure, the United States District Court for the Southern District of Mississippi issued a
subpoena (a copy of which is attached hereto) for Philip Lucas, M.D. This subpoena was served
on February 13, 2006. The subpoena required Dr. Lucas to appear, with certain requested
documents, on February 21, 2006 beginning at 10:00 AM CST at the office of Dr. Philip Lucas,
200 Winged Foot Circle, Jackson, MS 39211.

The deposition did not go forward on this date as noticed by agreement of counsel.

Counsel for the Debtors and counsel for Dr. Lucas are in the process of conferring in order to
reach an agreement on a mutually convenient place and time for the deposition to take place.

DOCS_DE:115937.1
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Dated: March “ , 2006

DOCS_DE:115937.1

Respectfully submitted,

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Lap Davis Jones (Bar No. 2436)
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*  AO-88 (tev. 1/94) Subpoena in a Civil Case

Issued by the
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF MISSISSIPPI
JACKSON DIVISION

In Re: W.R. Grace Co., et. ai.
SUBPOENA IN A CASE UNDER

THE BANKRUPTCY CODE

CASE NUMBER:' 01-1139
United States Bankruptcy Court
District of Delaware (Wilmington)

TO: Dr. Philip Lucas
220 Winged Foot Circle
Jackson, MS 39211

XC) YOU ARE COMMANDED to appear in the United States District Court at the place, date, and time specified below to testify in the above case.

PLACE OF TESTIMONY COURTROOM

DATE AND TIME

XxXo YOU ARE COMMANDED to appear at the place, date, and time specified below to testify at the taking of a deposition in the above
case.

PLACE OF DEPOSITION DATE AND TIME
220 Winged Foot Circle, Jackson, MS 39211, or at another location agreed upon by you and the
Issuing Officer of this subpoena, identified below. This deposition will be videotaped and 02/21/2006 10:00 A.M. CST
stenographically recorded.

XxXO YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects at the place, date,
and time specified below (list documents or objects):

See Attached Exhibit “A” and “B” regarding the documents and/or objects to be produced and the scope of the production.

PLACE DATE AND TIME

220 Winged Foot Circle, Jackson, MS 39211, or at another location agreed upon by you and the 02/21/2006 10:00 A.M. CST
Issuing Officer of this subpoena, identified below.

CJ) YoU ARE COMMANDED to permit inspection of the following premises at the date and time specified below.

PREMISES DATE AND TIME

Any organization not a party to this suit that is subpoenaed for the taking of a deposition shall designate one or more officers, directors, or
managing agents, or other persons who consent to testify on its behalf, and may set forth, for each person designated, the'matters on which the
person will testify. Federal Rules of Civil Procedure, 30(b) (6).

FFICER SIGNA CATE IF ATTORNEY FOR PLAINTIFF OR DEFENDANT) DATE
02/06/2006

ISSUING OFFICER’S NAME, ADDRESS AND PHONE NUMBER
Amanda Basta, Esq., Kirkland & Ellis LLP
655 Fifteenth Street, N.W., Washington, D.C. 20005-5793
Telephone: 202.879.5933

(See Rule 45, Federal Rules of Civil Procedure, Parts C & D on Reverse)

‘If action is pending in district other than district of Issuance, state district under case number.
Case 01-01139-AMC

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PROOF OF SERVICE
DATE PLACE
SERVED 2/13/2006 111 Chadwyck Court, Madison, MS
SERVED ON (PRINT NAME) MANNER OF SERVICE
Dr. Philip Lucas Hand Delivery
SERVED BY (PRINT NAME) TITLE
Lewis A. Watt Private Investigator

DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information contained

in the Proof of Service is true and correct.

Executed on

M/3- OC

Z

SIGNATURE OF SERVER

P.O. Box 471, Ridgeland, MS 39158-0471

ADDRESS OF SERVER

Rule 45, Federal Rules of Civil Procedure, Parts C & D:
(c) PROTECTION OF PERSONS SUBJECT TO SUBPOENAS.

(1) A party or an attomey responsible for the issuance and service of a
subpoena shall take reasonable steps to avoid imposing undue burden or expense
on a person subject to that subpoena. The court on behalf of which the subpoena
was issued shall enforce this duty and impose upon the party or attorney in breach
of this duty an appropriate sanction which may include, but is not limited to, lost
earnings and reasonable attorney’s fee.

(2) (A)A person commanded to produce and permit inspection and copying
of designated books, papers, documents or tangible things, or inspection of
premises need notappear in person at the place of production or inspection unless
commanded to appear for deposition, hearing or trial.

(B) Subject to paragraph (d) (2) of this rule, a person commanded to
produce and permit inspection and copying may, within 14 days after service of
subpoena or before the time specified for compliance if such time is less than 14
days after service, serve upon the party or attomey designated in the subpoena
written objection to inspection or copying of any or all of the designated materials
or of the premises. If objection is made, the party serving the subpoena shall not
be entitled to inspect and copy materials or inspect the premises except pursuant
to an order of the court by which the subpoena was issued, If objection has been
made, the party serving the subpoena may, upon notice to the person commanded
to produce, move at any time for an order to compel the production. Such an
order to comply production shall protect any person who is not a party or an
officer of a party from significant expense resulting from the inspection and
copying commanded.

(3) (A) On timely motion, the court by which a subpoena was issued shall
quash or modify the subpoena if it

(i) fails to allow reasonable time for compliance,

(ii) requires a person who is not a party or an officer of a party to
travel to a place more than 100 miles from the place where that person resides, is
employed or regularly transacts business in person, except that, subject to the
provisions of clause (c) (3) (B) (iii) of this rule, such a person may in order to
attend

trial be commanded to travel from any such place within the state in which the
trial is held, or

(iii) requires disclosure of privileged or other protected matter and
no exception or waiver applies, or
(iv) subjects a person to undue burden.

(B) Ifa subpoena

(i) requires disclosure of a trade secret or other confidential
research, development, or commercial information, or

(ii) requires disclosure of an unretained expert’s opinion or
information not describing specific events or occurrences in dispute and resulting
from the expert’s study made not at the request of any party, or

(iii) requires a person who is not a party or an officer of a party to
incur substantial expense to travel more than 100 miles to attend trial, the court
may, to protect a person subject to or affected by the subpoena, quash or modify
the subpoena, or, if the party in who behalf the subpoena is issued shows a
substantial need for the testimony or material that cannot be otherwise met
without undue hardship and assures that the person to whom the subpoena is
addressed will be reasonably compensated, the court may order appearance or
production only upon specified conditions.

(d) DUTIES IN RESPONDING TO SUBPOENA.

(1) A person responding to a subpoena to produce documents shall produce
them as they are kept in the usual course of business or shall organize and label
them to correspond with the categories in the demand.

(2) When information subject to a subpoena is withheld on a claim that it is
privileged or subject to protection as trial preparation materials, the claim shall be
made expressly and shall be supported by a description of the nature of the
documents, communications, or things not produced that is sufficient to enable the
mmmdemanding party to contest the claim.
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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
JACKSON DIVISION

In re:

W. R. GRACE & CO., et al., Misc. Case No.

Debtors.

SUBPOENA TO TESTIFY AT DEPOSITION AND PRODUCE DOCUMENTS
PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE 30(b) AND 45

TO Philip Lucas, M.D.

220 Winged Foot Circle

Jackson, MS 39211

YOU ARE COMMANDED TO APPEAR to testify at a deposition in the matter styled
Inre W.R. Grace & Co., et al, Case No. 01-1139 (KF), currently pending in the United States
Bankruptcy Court, District of Delaware, to be conducted in the law offices of Forman, Perry,
Watkins, Krutz, and Tardy LLP, located at City Centre, 200 South Lamar Street, Suite 100,
Jackson, MS, 39201 on February 21, 2006, at 10:00 A.M. CST, or at such other time and place
mutually agreed upon by counsel for the parties. The deposition(s) will continue from day-to-day
until complete. The deposition(s) will be taken before an official authorized by law to administer

oaths, and, pursuant to Federal Rule of Civil Procedure 30(b)(2), will be recorded by both

stenographic means and sound-and-visual means.

YOU ARE FURTHER COMMANDED TO PRODUCE the categories of documents
set forth in Exhibit “A” to this subpoena. Doctor Lucas is further requested to make the
categories of documents set forth in Exhibit “A” available to the undersigned counsel for W.R.

Grace & Co. for inspection and copying within 30 days of service of this Subpoena.
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This subpoena has been issued by the United States District Court for the Southern
District of Mississippi. You must appear, give testimony, and produce all of the materials
described in this subpoena and its attachments for inspection and copying and must do so at the
time and place set out in this subpoena. Your failure to do so may be punished as a contempt of

the United States District Court for the Southern District of Mississippi.

Pursuant to the requirements of Federal Rule of Civil Procedure 45(a)(1)(D), a copy of
the provisions of Rule 45(c) and (d) of the of the Federal Rules of Civil Procedure are

reproduced as an attachment to this subpoena.

Dated: 02/06/2006

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Jonathan Friedland

Salvatore Bianca

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PROVISIONS OF RULE 45(c) and (d) OF THE FEDERAL RULES OF CIVIL PROCEDURE

(c)

PROTECTION OF PERSONS SUBJECT TO SUBPOENAS

(1)

(2)

(3)

A party or an attorney responsible for the issuance and service of a subpoena shall
take reasonable steps to avoid imposing undue burden or expense on a person
subject to that subpoena. The court on behalf of which the subpoena was issued
shall enforce this duty and impose upon the party or attorney in breach of this
duty an appropriate sanction, which may include, but is not limited to, lost
earings and a reasonable attorney’s fee.

(A)

A person commanded to produce and permit inspection and copying of

designated books, papers, documents or tangible things, or inspection of premises
need not appear in person at the place of production or inspection unless
commanded to appear for deposition, hearing or trial.

(B)

(A)

Subject to paragraph (d)(2) of this rule, a person commanded to produce
and permit inspection and copying may, within 14 days after service of the
subpoena or before the time specified for compliance if such time is less
than 14 days after service, serve upon the party or attorney designated in
the subpoena written objection to inspection or copying of any or all of the .
designated materials or of the premises. If objection is made, the party
serving the subpoena shall not be entitled to inspect and copy the materials
or inspect the premises except pursuant to an order of the court by which
the subpoena was issued. If objection has been made, the party serving
the subpoena may, upon notice to the person commanded to produce,
move at any time for an order to compel the production. Such an order to
compel production shall protect any person who is not a party or an officer
of a party from significant expense resulting from the inspection and
copying commanded.

On timely motion, the court by which a subpoena was issued shall quash

or modify the subpoena if it

(i) fails to allow reasonable time for compliance;

(ii) requires a person who is not a party or an officer of a party to
travel to a place more than 100 miles from the place where that
person resides, is employed or regularly transacts business in
person, except that, subject to the provisions of clause (c)(3)(B)(iii)
of this rule, such a person may in order to attend trial to be
commanded to travel from any such place within the state in which
the trial is held, or

(iii) requires disclosure of privileged or other protected matter and no
exception or waiver applies, or

(iv) subjects a person to undue burden.
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(d) DUTIES IN RESPONDING TO SUBPOENA

(1)

(2)

A person responding to a subpoena to produce documents shall produce them as
they are kept in the usual course of business or shall organize and label them to
correspond with the categories in the demand.

When information subject to a subpoena is withheld on a claim that it is
privileged or subject to protection as trial preparation materials, the claim shall be
made expressly and shall be supported by a description of the nature of the
documents, communications, or things not produced that is sufficient to enable
the demanding party to contest the claim.
